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                                THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

                                                          REDACTED
    UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                             Plaintiff,                   ORDER GRANTING DEFENDANT’S
                                                          SECOND MOTION FOR
    v.                                                    COMPASSIONATE RELEASE

    GRISELDA MUNIZ,                                       Case No. No. 4:19-cr-00102-DN

                             Defendant.                   District Judge David Nuffer



           Defendant filed a second Motion seeking compassionate release (“Motion”).1 The

government filed a Response2 that did not oppose Defendant’s Motion, and the government

stipulated to the Defendant’s request to be released immediately.3 Defendant has demonstrated

extraordinary and compelling reasons to warrant a sentence reduction, and the applicable factors

in 18 U.S.C. § 3553(a) support a compassionate release. Defendant’s Motion for Compassionate

Release is GRANTED.

                                                DISCUSSION
                                     The Motion is procedurally proper

           18 U.S.C. § 3582(c) permits a court to reduce a defendant's term of imprisonment

pursuant to a motion seeking such relief.4 “The First Step Act . . . modified 18 U.S.C. § 3582(c)



1
 Ms. Muniz’s Memorandum of Points and Authorities in Support of Motion for Sentence Reduction Pursuant to 18
U.S.C. § 3582(c)(1)(A) (“Motion”), docket no. 133, filed June 26, 2024.
2
 Sealed Response and Stipulation Regarding Motion for Sentence Reduction (“Government Response”), docket no.
135, filed June 27, 2024.
3
    Government Response, at 1; Motion, at 39.
4
    United States v. Williams, No. 2:17-CR-00417-DAK, 2020 WL 806026, at *1 (D. Utah Feb. 18, 2020).
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to allow a defendant federal prisoner to file [a] motion [for compassionate release or a sentence

modification] with the court him or herself.”5 However, to file such a motion, a defendant must

have “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

[(“BOP”)] to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier.”6 If the procedural

requirements are satisfied, “a court may reduce a defendant’s sentence if it finds that

‘extraordinary and compelling reasons warrant such a reduction,’ and that such reasons ‘could

not reasonably have been foreseen by the court at the time of sentencing.’”7 In making this

determination, the court must also consider the factors set forth in 18 U.S.C. § 3553(a) to the

extent they are applicable.8 A defendant has the burden of showing that extraordinary and

compelling reasons warrant a sentence reduction.9

           Defendant filed a request for compassionate release with the BOP in August 2023 and

then later in September 2023 after Defendant was transferred to a different facility.10 Defendant’s

legal team never heard back from the BOP on the status of these requests. Defendant’s Motion is

procedurally proper because more than 30 days elapsed since Defendant made her requests.

                 Defendant demonstrated extraordinary and compelling reasons to warrant
                                     compassionate release
           Under the plain language of 18 U.S.C. § 3582(c)(1)(A)(i), a motion for compassionate

release may be granted only if three requirements are met: (1) extraordinary and compelling



5
 United States v. Williams, No. 2:17-cr-00417-DAK, 2020 WL 806026, *1 (D. Utah Feb. 18, 2020) (citing 18
U.S.C. § 3582(c)(1)(A); United States v. Willis, 382 F.Supp.3d 1185, 1187 (D. N.M. 2019).
6
    18 U.S.C. § 3582(c)(1)(A)).
7
    Williams, 2020 WL 806026, at *1 (quoting 18 U.S.C. § 3582(c)(1)(A)(i); 28 C.F.R. § 571.60).
8
    18 U.S.C. § 3582(c)(1).
9
    United States v. Billings, No. 19-CR-00099-REB, 2020 WL 4705285, at *2 (D. Colo. Aug. 13, 2020).
10
     Motion, at 16-17 (citing Counsel Email, Exhibit P, docket no. 133-16, filed June 26, 2024).

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reasons wru.rnnt relief; (2) relief is consistent with applicable policy statements issued by the

United States Sentencing Commission ("USSC"); and (3) the district comi considers the factors

set for in 18 U.S.C.§ 3553(a), to the extent that they are applicable. 11

           District comis "possess the authority to dete1mine for themselves what constitutes

' extraordina1y and compelling reasons,"' to wru.Tant compassionate release.12 However, this

discretion is "bounded by the requirement ... that a reduction in sentence be consistent with

applicable policy statements issued by the [USSC]." 13 Defendant argues that

                                her medical condition, and her family situation constitute extraordina1y

and compelling circun1Stances that waITant her compassionate release.




_ . As to medical circumstances, the USSC's applicable policy statement defines

"extraordinru.y and compelling reasons" to include: "The defendant is suffering from a medical

condition that requires long-te1m or specialized medical cru.·e that is not being provided and




11
     United States v. Maumau, 993 F.3d 821, 831 (10th Cir. 2021).
12
     United States v. Maumau, 993 F.3d 821,831 (10th Cir. 2021).
13
     Id.
14

15



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without which the defendant is at risk of serious deterioration in health or death. " 16 As to family

circumstances, the USSC's applicable policy statement defines "extraordinaiy and compelling

reasons" to include the "incapacitation of the caregiver of the defendant's minor child." 17

           First,




            Second, Defendant argues that her Motion is suppo1ted by her medical circumstances,

and the BOP 's ineffectiveness in providing her proper care. Defendant alleges that she has a

blood clot disorder, and the BOP has demonstrated that it cannot provide her the cai·e she

needs. 23 Specifically, Defendant alleges that the BOP did not provide her prescribed blood




16
     U.S.S.G. 1Bl.13(b)(l)(C).
17 U.S.S.G. 1Bl.13(b)(4).

18
     Motion, at 9, 27.
19
     Motion, at 8.
20
     Motion, at 9.
21
     Motion, at 9.
22
     Motion, at 27.
23 Motion, at 6-7, 27-28, 35-36.



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thinners for the first three years of her incarceration, which caused her to lose vison in her left

eye and feeling in the left side of her body.24 Defendant further alleges that she reported these

symptoms to the FCI Dublin health staff and her complaints were met with indifference.25

Eventually, the BOP did take Defendant to outside doctors and she was placed on blood thinners

for her condition.

           Third, Defendant argues that her Motion is supported by her family circumstances.26

Defendant’s mother recently suffered a stroke that left her partially paralyzed, and her mother

can only walk with the help of a walker and physical therapy.27 Because of this stroke,

Defendant’s mother has immense difficulty parenting Defendant’s three children, including a

five-year-old and a twelve-year-old, that reside with Defendant’s mother and father.28 While

Defendant’s father is a member of the same household, he works to support the family.29 The

totality of circumstances alleged in Defendant’s Motion and the government waiver of any

argument to the contrary establish extraordinary and compelling reasons that warrant release.

           The relevant factors of 18 U.S.C. § 3553(a) do not preclude compassionate release

           The relevant factors of 18 U.S.C. § 3553(a) do not preclude granting Defendant

compassionate release.30 Defendant plead guilty to one count for possession of



24
     Motion, at 6-7, 36.
25
     Motion, at 7.
26
     Motion, at 28.
27
     Motion, at 24-25, 28.
28
     Presentence Investigation Report, at 9; Motion at 4, 24.
29
     Motion, at 25.
30
  The 18 U.S.C. § 3553(a) factors considered in this context include: “(1) the nature and circumstances of the
offense and the history and characteristics; (2) the need for the sentence imposed-- (A) to reflect the seriousness of
the offense, to promote respect for the law, and to provide just punishment for the offense; (B) to afford adequate
deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide the
defendant with needed educational or vocational training, medical care, or other correctional treatment in the most
effective manner; (3) the kinds of sentences available; (4) the kinds of sentence and the sentencing range established

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methamphetamine with intent to distribute after 40 pounds of methamphetamine was found in

her motor vehicle.31 The government also charged her with Possession of a Fi.rea1m in

Fmtherance of a Drng Trafficking Crime, but this charge was later dropped. 32 The Defendant's

offense has a mandato1y minimum of ten years imprisonment and five years of supervised

release. 33 The Defendant's Presentence Investigation Repo1t stated she had criminal histo1y score

of one and a criminal histo1y catego1y of one. 34

           As part of her plea agreement, Defendant was sentenced to 96 months of incarceration

and 60 months of supervised release. Defendant has faced two disciplina1y actions while in

custody and has received a few minor tickets. 35 Defendant has been in custody for more than 56

months of her 96-month sentence.36

           In considering and balancing the relevant factors of 18 U .S.C. § 3553(a), the seriousness

of the offense and the appropriateness of Defendant's original sentence are tempered by •

                                                              her medical condition, family situation, and

Defendant's limited criminal histo1y prior to her atTest for possession with intent to distribute.

Additionally, upon release prison, Defendant will remain on supervised release for 60

months. Supervised release will provide means to ensme Defendant is sincere in her asse1tions

about moving away from negative behaviors and will give options to address Defendant's actions



for - the applicable category of offense committed by the applicable catego1y of defendant as set fo1t h in the
guidelines." 18 U.S.C. § 3553(a).
31
     Presentence Investigation Report, at 4.
32 Presentence Investigation Report, at 4; Judgment, at l .

33
     Presentence Investigation Repo1t, at l .
34 Presentence Investigation Report, at 7.

35
     Motion, at 15.
36 Judgment, docket no. 84, at 2-3, filed July 27, 2024; First Motion for Writ of Habeas Corpus ad prosequendum,

docket no. 4, filed October31, 2019; Minute Entiy, docket no. 17, filed November 4, 2019 (stating that the
Defendant elects to remain in the custody of the United States Marshals).

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(including fmi her incarceration) if necessaiy. Therefore, the relevant factors of 18 U.S.C. §

3553(a) do not preclude granting Defendant compassionate release.

                  Defendant's release plan is suitable for reentry and supervision
         Defendant's proposed release plan is to live at her pai·ents ' home in Aurora, Colorado

with her three children. 37 Additionally, Plaintiff has identified several potential employers in the

area, and she is committed to continuing her vocational education and drng treatment. 38 The

Probation Office conducted a relocation investigation of Defendant's home in Aurora, Colorado,

and the Probation Office approved the location and Defendant's release plan. 39 Defendant's

release plan is appropriate.

                                 Defendant is entitled to compassionate release

         Defendai1t's experience of_ _ , family circumstances and medical circumstances

constitute extraordinary and compelling reasons to wairnnt compassionate release. This relief is

consistent with the USSC's applicable policy statement. The relevant factors of 18 U.S .C. §

3553(a) also do not preclude granting Defendant compassionate release. And Defendant's release

plan is appropriate and suitable for reentry and supervision purposes. Therefore, Defendant is

entitled to compassionate release.

                                                         ORDER

         IT IS HEREBY ORDERED that Defendant's Motion is GRANTED. Defendant's te1m of

incarceration is reduced to time served effective July 19, 2024 (the time from entiy of this Order

to its effective date is to allow the BOP time to purchase and atTange for Defendant's




37
  Motion, at 15; Exhibit T, at 2, docket no. 133-20, filed June 26, 2024; Probation Office's Relocation Approval,
Exhibit S, docket no. 133-19, at 1, filed June 26, 2024.
38 Motion, at 15-16.

39 Probation Office's Relocation Approval, at 1.



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transportation to Colorado). Defendant's 60-month term of supervised release shall begin July

19, 2024.

       Signed July 19, 2024.

                                            BY THE COURT


                                            ________________________________________
                                            David Nuffer
                                            United States District Judge




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